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          IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF FLORIDA
                  TALLAHASSEE DIVISION


ANDREW H. WARREN,

                   Plaintiff,              Case No. 4:22-cv-302-RH-MAF
v.
RON DESANTIS, individually and in
his official capacity as Governor of the
State of Florida,

               Defendant.
___________________________________

               PLAINTIFF’S RESPONSE TO AMICI CURIAE
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      Plaintiff Andrew Warren respectfully responds to the amicus brief by the
Florida Sheriffs Association (“Sheriffs”). 1

I.    The Court should disregard the Sheriffs’ duplicative arguments.
      Courts welcome an amicus brief “when the amicus has unique information or
perspective.” In re Halo Wireless, Inc., 684 F.3d 581, 596 (5th Cir. 2012) (quoting
Ryan v. CFTC, 125 F.3d 1062, 1063 (7th Cir. 1997)). But courts generally disregard

an amicus brief that merely “duplicate[s] the arguments made in the litigants’
briefs.” Florida v. U.S. Dep’t of Health & Human Servs., No. 3:10-cv-91, 2010 WL
11570635, at *1 (N.D. Fla. June 14, 2010) (quoting Ryan, 125 F.3d at 1063).
      Here, the Sheriffs offer neither unique information nor a unique perspective.
They duplicate DeSantis’s arguments on the First Amendment issue. Compare
DE38-1 at 10–13, with DE30 at 9–18. And they do so on the quo warranto issue.
Compare DE38-1 at 13–18, with DE30 at 20–28. The Court therefore should give
these arguments little or no regard. See In re Halo Wireless, 684 F.3d at 596 (striking
an amicus brief for providing “no [new] information or arguments”).


      1
         Three other briefs support Warren. First, numerous prosecutors, jurists, and
law-enforcement officials assert that DeSantis’s Executive Order contravened
prosecutorial discretion because prosecutors are “ethically bound” to decide “where
and how limited resources are best expended, what cases merit entry into the justice
system, and what charges and penalties to seek when a case does warrant criminal
prosecution.” [DE14-1 at 8–9] Second, various legal scholars explain that the Order
defied “professional standards of conduct” for prosecutors, “usurp[ed] the will and
power of the electorate, and eviscerate[d] the carefully crafted separation of powers
erected in the Florida Constitution.” [DE22-1 at 19] And third, “members of
Florida’s 1997-1998 Constitution Revision Commission and state constitutional law
scholars” observe that DeSantis’s grounds for suspending Warren “find[] no support
in the long history of judicial examination of these grounds.” [DE24-1 at 6, 12]


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II.   The Sheriffs’ First Amendment argument (like DeSantis’s) fails because
      it applies the wrong cases while ignoring Wilson and Bond entirely.
      If the Court considers the merits of the Sheriffs’ brief, its arguments fail. As

Warren establishes, DeSantis’s Order—motivated by Warren’s political views and
statements—violates the First Amendment because “[t]he manifest function of the
First Amendment in a representative government requires that [elected officials] be

given the widest latitude to express their views on issues of policy.” Bond v. Floyd,
385 U.S. 116, 135–36 (1966). [See DE1 ¶¶ 1–2, 78–104; DE3-1 at 7, 9–17]
      The Sheriffs (like DeSantis) argue (at 10) that Warren’s speech is not
protected, based on Garcetti v. Ceballos, 547 U.S. 410 (2006), because he “spoke in
his capacity as the State Attorney.” But Garcetti does not apply to elected officials
like Warren, as he explains. [See DE46 at 4–8] Instead, Bond, Wood v. Georgia, 370
U.S. 375 (1962), and Houston Community College System v. Wilson, 142 S.Ct. 1253
(2022), apply and prohibit “exclu[ding]” an elected official “from office” for
“speak[ing] freely on questions of government policy.” Wilson, 142 S.Ct. at 1261 &

1263. Multiple federal circuit courts have agreed. [See DE46 at 6 (collecting cases)]
      Despite Warren discussing Bond and Wilson in the first two paragraphs of the
first two pages of his Complaint, the Sheriffs fail to discuss or even cite these cases.
Nor do the Sheriffs cite the Fifth, Ninth, or Tenth Circuit opinions agreeing with
Warren and disagreeing with the Sheriffs (and DeSantis). Simply put, the Sheriffs
apply the wrong law and ignore the cases that should guide this Court’s analysis. 2



      2
        The Sheriffs also suggest (at 10–11) that Warren “relies” solely on Wood.
The first two paragraphs of his Complaint, though, prove otherwise.


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       Finally, the Sheriffs contend (at 12) that “Garcetti cannot be materially
distinguished from th[is] case.” Not true. Garcetti neither involved “an elected

official” nor “implicate[d] the franchise of his constituents.” Wilson, 142 S.Ct. at
1263. And DeSantis, of course, is neither Warren’s “manager[]” nor “employer,” as
the Sheriffs claim (at 10–12) and as Warren explains elsewhere. [See DE46 at 7]

III.   The Sheriffs misread the policies that require case-by-case assessments.
       Nor do the Sheriffs undercut Warren’s quo warranto claim. As he establishes,
DeSantis unlawfully suspended Warren simply for expressing his political views and
issuing charging guidelines for prosecutors. [DE1 ¶¶ 106–31; DE3-1 at 17–28]3

       The Sheriffs criticize Warren’s policies, objecting (at 6) that “[s]heriffs
anticipate that arrests by their deputies will be reviewed on a case-by-case basis and
the state attorney will exercise prosecutorial discretion.” But, by their plain text,
Warren’s polices do precisely that, as he already explains. [See DE3-1 at 23–28;
DE46 at 14–17] These policies also do not set “a prosecutorial edict disqualifying
categories of crimes from prosecution,” as the Sheriffs claim (at 7). Rather, the

policies require prosecutors to consider “the facts and circumstances of the case”
and authorize charges when justified by, for example, “significant public safety
concerns.” [DE1-4 at 3; DE1-3 at 2] Thus, contrary to the Sheriffs’ assertion (at 15),



       3
        In his papers, Warren also shows that various Florida sheriffs have criticized
certain criminal laws and even declined to enforce those laws, without repercussion.
[DE3-1 at 16] One example involved Sheriff Dennis Lemma of Seminole County—
the chair of the Sheriffs’ board—who declared that he “wouldn’t” enforce a gun-
control law if passed. [See id. (citation omitted)] But the Sheriffs do not address how
Sheriff Lemma’s statements can be reconciled with their criticism of Warren.


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Warren’s policies are not “[a]kin to” the blanket policies at issue in Ayala v. Scott,
224 So.3d 755 (Fla. 2017), as Warren already explains elsewhere. [See DE46 at 15]4

                                    Conclusion
      The Court should disregard the Sheriffs’ arguments. They duplicate
DeSantis’s own and are otherwise refuted by Warren’s papers.




      4
        The Sheriffs also criticize Warren’s policies based either on “[a]ssuming”
certain evidence exists or on evidence not in the record. [See, e.g., DE38-1 at 8
(claiming that one of Warren’s policies “does not lessen crimes” and “encourages
lawlessness”); id. (claiming that, based on these policies, “drug dealers will be
inclined to use these means [i.e., “pedestrians and bicycle[s]”] to carry out their
trade”)] Because none of this evidence is in the record—indeed, DeSantis never
introduced any evidence whatsoever—this Court should disregard this non-existent
evidence. Nor, in any event, would it be relevant or material to Warren’s claims.


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         LOCAL RULE 7.1(F) CERTIFICATE OF COMPLIANCE
      I certify that this Response to Amici Curiae contains 1,064 words, with such
word count incorporating all portions of this document subject to the word
limitations imposed under Local Rule 7.1(F).

                                            /s/ Matthew R. Koerner




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                        CERTIFICATE OF SERVICE

      I hereby certify that on September 14, 2022, a true and correct copy of the
foregoing document was served upon all counsel of record via the Court’s CM/ECF

System for filing.

                                           /s/ Stephanie Lawson




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